Case 2:18-cv-00055-TSZ Document 295 Filed 03/19/21 Page 1 of 2

CAMPICHE
ARN OLD March 19, 2021
PLLC
Trial Attorneys Via Messenger
campichearnold.com The Hon. Thomas S. Zilly
c/o Clerk of the Court
11 Queen Anne Ave N 700 Stewart Street
een Anne Ave
suite E46 Seattle, WA 98101-9906
Seattle, WA 98109
Zs Oe tele Re: Le family v. King County & Molina, Cesar
meee” 2:cv-18-00055TSZ, CourtZoom Trial: 04-19-21
Pltfs’ Supp. Motions in Limine, Electronic Files
Dkt. 294-1(A) and 294-8(H)
Leslie S. Harris Judge Zilly:
Paralegal
lharris@campichearnold.com
tlane@campichearnold.com Find attached a DVD (also being messengered and sent to defendants’ counsel)

with the audio files of the 911 calls from witnesses Hernandez and Schwiethale.
These files were part of discovery.

Hox —

eslie S. Harris

Cordially,

   

cc: Attorneys Daniel Kinerk, Carla Carlstrom and Timothy Gosselin
w/ copies of DVDs.

 
 
